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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

ERIK SILGUERO,                        -
                                              -
       Plaintiffs,                            -
                                              -
       v.                                     -      3:18-cv-00628
                                              -
ONEMAIN FINANCIAL GROUP, LLC,                 -
                                              -
       Defendant.                             -

                                   NOTICE OF SETTLEMENT

       NOW COMES Plaintiff, ERIK SILGUERO (“Plaintiff”), by and through the undersigned

counsel, and hereby informs the Court that a settlement of the present matter has been reached

and all parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 60 days.

       Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.

DATED: October 24, 2018                     RESPECTFULLY SUBMITTED,

                                      By: /s/ Adam T. Hill
                                           Adam T. Hill
                                           Attorney for Plaintiff
                                           Krohn & Moss, Ltd.
                                           10 N. Dearborn St
                                           Suite 301
                                           Chicago, IL 60602
                                           Tel: (312) 578-9428 ext 242
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                                    NOTICE OF SETTLEMENT                                             1
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 24, 2018, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

submitted to all parties by way of the Court’s CM/ECF System.




                                            By:      /s/ Adam T. Hill
                                                     Adam T. Hill
                                                     Attorney for Plaintiff




                                  NOTICE OF SETTLEMENT                                             2
